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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                )
    In re                                                       )
                                                                )   Case No. 24-90531 (CML)
                                               1
    Light S.A. - Em Recuperação Judicial,                       )
                                                                )
            Debtor in a Foreign Proceeding.                     )   Chapter 15
                                                                )

             FOREIGN REPRESENTATIVE’S EMERGENCY MOTION FOR ORDER
              (I) SCHEDULING RECOGNITION HEARING, AND (II) SPECIFYING
                       FORM AND MANNER OF SERVICE OF NOTICE

            Emergency relief has been requested. Relief is requested not later than October 18,
            2024.
            If you object to the relief requested or you believe that emergency consideration is not
            warranted, you must appear at the hearing if one is set, or file a written response prior
            to the date that relief is requested in the preceding paragraph. Otherwise, the Court
            may treat the pleading as unopposed and grant the relief requested.
            A hearing will be conducted on this matter on October 18, 2024 at 1:00 p.m. (prevailing
            Central Time) in Courtroom 401, 515 Rusk, Houston, TX 77002.
            You may participate in the hearing either in person or by an audio and video
            connection.
            Audio communication will be by use of the Court’s dial-in facility. You may access the
            facility at (832) 917-1510. Once connected, you will be asked to enter the conference
            room number. Judge Lopez’s conference room number is “590153”. Video
            communication will be by use of the GoToMeeting platform. Connect via the free
            GoToMeeting application or click the link on Judge Lopez’s home page. The meeting
            code is “590153”. Click the settings icon in the upper right corner and enter your name
            under the personal information setting.
            Hearing appearances must be made electronically in advance of the virtual hearing. To
            make your appearance, click the “Electronic Appearance” link on Judge Lopez’s home
            page. Select the case name, complete the required fields and click “Submit” to complete
            your appearance.


1
      The debtor in this chapter 15 case (the “Chapter 15 Case”) and the last four digits of the tax number in the
      jurisdiction in which it pays taxes is Light S.A. - Em Recuperação Judicial (01-75 – Brazil) (the “Chapter 15
      Debtor”).
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        Antonio Reinaldo Rabelo Filho (the “Petitioner” or the “Foreign Representative”), the

duly-authorized foreign representative of Light S.A. - Em Recuperação Judicial (“Light” or the

“Chapter 15 Debtor”) in              (i) the judicial reorganization (recuperação judicial or “RJ”)

proceeding (the “Brazilian Proceeding”) of the Chapter 15 Debtor commenced on May 12, 2023

pursuant to Federal Law No. 11.101 of February 9, 2005 (as modified, the “Brazilian Bankruptcy

Law”), of the laws of the Federative Republic of Brazil (“Brazil”), pending before the 3rd

Business Court of Rio de Janeiro (the “Brazilian Court”),2 respectfully submits this motion (the

“Motion”) for entry of an order substantially in the form annexed hereto (the “Proposed Order”):

(i) scheduling a hearing on the relief sought in (a) the Petitioner’s Verified Petition for Recognition

of the Brazilian Proceeding and Motion for Order Granting Full Force and Effect to Brazilian RJ

Plan and Related Relief Pursuant to 11 U.S.C. §§ 105, 1145(a), 1507(a), 1509(b), 1515, 1517,

1520 and 1521 [ECF No. 2] (the “Recognition Motion”)3 and the form of voluntary petition [ECF

No. 1] (the “Brazilian Proceeding Form of Petition” and, together with the Recognition Motion,

the “Petition”); (ii) setting the deadline by which any responses or objections to the Petition must

be filed with the Court and received by the Petitioner; (iii) approving the form and manner of

service of the Petition; (iv) finding that section 1514(c) of the Bankruptcy Code (as defined herein)

is either inapplicable to this Chapter 15 Case or, if applicable, is waived; and (v) granting such

other relief as the Court deems just and proper. In support of the relief requested herein, the

Petitioner respectfully represents as follows:4


2
    The case number for the Brazilian Proceeding before the Brazilian RJ Court is 0843430-58.2023.8.19.0001.
3
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Recognition Motion.
4
    In further support of this Motion, the Petitioner relies upon and incorporates by reference the Declaration of Luiz
    Roberto Ayoub Pursuant to 28 U.S.C. § 1746 in Support of the Petitioner’s Verified Petition for Recognition of
    the Brazilian Proceeding and Motion for Order Granting Full Force and Effect to Brazilian RJ Plan and Related
    Relief Pursuant to 11 U.S.C. §§ 105, 1145(a), 1507(a), 1509(b), 1515, 1517, 1520 and 1521 (the “Brazilian
    Counsel Declaration”), along with the exhibits thereto.


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                 JURISDICTION, VENUE, AND PREDICATES FOR RELIEF

        1.       The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b). The Foreign Representative confirms his consent to the entry of

a final order by the Court.

        2.       Venue is proper pursuant to 28 U.S.C. § 1408 and 1409.

        3.       The predicates for the relief requested herein are section 1514 of title 11 of the

United States Code (the “Bankruptcy Code”), rules 2002 and 9007 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2002-1 and 9013-1 of the Bankruptcy

Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”).

                                          BACKGROUND

        4.       On the date hereof, the Petitioner filed a voluntary petition for relief under chapter

15 of the Bankruptcy Code as a necessary predicate to completion of the Chapter 15 Debtor’s

restructuring under the Brazilian RJ Plan.         The Brazilian RJ Plan seeks to (i) restructure

approximately $2.19 billion of indebtedness, including over $600 million in bond debt held by

Existing Noteholders, (ii) facilitate the issuance of the New NY Securities, and (iii) ensure that the

restructuring is binding upon all Existing Noteholders.

        5.       The factual background relevant to this Motion is set forth in the Recognition

Motion, which describes the Chapter 15 Debtor’s businesses, corporate and capital structures, and

the circumstances leading to the commencement of the Brazilian Proceeding and this Chapter 15

Case.




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                                      RELIEF REQUESTED

       6.       By this Motion, the Petitioner seeks entry of the Proposed Order, substantially in

the form of annexed hereto: (i) setting a hearing (the “Recognition Hearing”) on the Recognition

Motion; (ii) setting a deadline for responses or objections to the Recognition Motion (the

“Objection Deadline”); (iii) approving the form and manner of notice of the filing of the

Recognition Motion, the Recognition Hearing, and the Objection Deadline (the “Hearing Notice”)

attached as Exhibit 1 to the Proposed Order; and (iv) granting related relief as provided herein.

                                       BASIS FOR RELIEF

       7.       Bankruptcy Rule 2002(q)(1) provides that the parties identified therein and “such

other entities as the court may direct” shall receive at least twenty-one (21) days’ notice of a

hearing on a petition for recognition of a foreign proceeding. Fed. R. Bankr. P. 2002(q)(1).

Bankruptcy Rules 2002(m) and 9007 permit the court to designate the form and manner of such

notice (unless the Bankruptcy Rules specify the necessary form and manner). Fed. R. Bankr. P.

2002(m), 9007.

       8.       The Petitioner proposes to: (i) serve the Hearing Notice, the Recognition Motion,

and the Brazilian Counsel Declaration (collectively, the “Notice Documents”) upon the parties

listed in Exhibit A hereto (the “Notice Parties”) by electronic mail, to the extent that the Petitioner

has email addresses for such Notice Parties, and otherwise by U.S. mail, first-class postage prepaid

(or equivalent service), in accordance with Bankruptcy Rules 2002(k) and (q) and Bankruptcy

Local Rules 2002-1 and 9013-1(d); (ii) provide the Notice Documents to the Indenture Trustee

with instructions to forward the Notice Documents on behalf of the Petitioner to the Depository

Trust Company (the “DTC”), in its capacity as the record holder of the Existing Notes and to




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instruct the DTC to disseminate the same according to the DTC’s customary practices; and (iii)

publish the Hearing Notice on the Chapter 15 Debtor’s website (https://ri.light.com.br/).

        9.       The Petitioner will complete such notice within two (2) business days of entry of

the Proposed Order and submits that such notice constitutes adequate and sufficient notice of this

Chapter 15 Case, the relief sought in the Petition, the Objection Deadline, and the time, date, and

place of the Recognition Hearing.5

        10.      In addition, if any party files a notice of appearance in this case, the Petitioner

proposes to serve the Notice Documents and subsequent notices upon such party or its counsel

within three (3) business days of the filing of such notice of appearance if such documents have

not already been served on such party (or its counsel). The Petitioner agrees to serve such

documents in accordance with this paragraph on all parties (or their counsel) having filed a notice

of appearance prior to the date set for the Recognition Hearing.

        11.      Accordingly, the Petitioner respectfully requests that this Court approve the

foregoing manner of notice and service of the Notice Documents pursuant to Bankruptcy Rules

2002(m) and (q) and 9007. The Petitioner respectfully submits that setting the Recognition

Hearing Date for at least twenty-one (21) days from the date hereof, and the Objection Deadline

for five (5) days prior to the Recognition Hearing Date is appropriate.

        12.      Section 1514(c) of the Bankruptcy Code provides that when notice of the

commencement of a case under the Bankruptcy Code is given to foreign creditors, such notification

shall indicate the time period and place for filing proofs of claim as well as whether such filing is

necessary for secured creditors. 11 U.S.C. § 1514(c). It is generally accepted that section 1514 of

the Bankruptcy Code does not apply in a chapter 15 case. As explained in Collier on Bankruptcy,


5
    The Petitioner will serve the Hearing Notice on the Notice Parties once such notice is approved by the Court.


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section 1514 is the “last in a series of sections dealing with the international aspects of cases under

chapters other than chapter 15 that began with section 1511.”             COLLIER ON BANKRUPTCY

¶ 1514.01 (16th ed. rev. 2016) (emphasis added). As such, courts routinely find inapplicable or

waive the requirements of section 1514 in chapter 15 cases. See, e.g., In re Oi S.A., No. 23-10193

(JPM) (Bankr. S.D.N.Y. Feb. 13, 2023), ECF No. 21; In re Americanas S.A., No. 23-10092 (MEW)

(Bankr. S.D.N.Y. Jan. 27, 2023), ECF No. 18; In re Olinda Star Ltd (In Provisional Liquidation),

No. 22-11447 (MG) (Bankr. S.D.N.Y. Nov. 3, 2022), ECF No. 9; In re U.S.J. - Açúcar e Álcool

S.A., No. 22-10320 (DSJ) (Bankr. S.D.N.Y. Mar. 18, 2022), ECF No. 9; In re Universal

Enterprises Ltd., No. 21-11745 (MG) (Bankr. S.D.N.Y. Oct. 8, 2021), ECF No. 7; In re Odebrecht

Engenharia e Construção S.A., No. 20-12741 (MEW) (Bankr. S.D.N.Y. Nov. 25, 2020), ECF No.

10. Given that section 1514(c) does not apply with respect to this Chapter 15 Case, the Petitioner

respectfully requests that it is inapplicable here or, alternatively, that the Court waive its

requirements.

                                 EMERGENCY CONSIDERATION

       13.      Pursuant to Bankruptcy Local Rule 9013-1, the Petitioner respectfully requests

emergency consideration of this Motion. Bankruptcy Code sections 1517(a) and (c) contemplate

that a “petition for recognition of a foreign proceeding shall be decided upon the earliest possible

time” following a 21-day notice period, as set forth in Bankruptcy Rule 2002(q). Accordingly, the

relief requested in this Motion should be entered on an emergency basis to facilitate timely

consideration of the Petition.

                                             NOTICE

       14.      Notice of this Motion will be provided to the Notice Parties set forth in the Notice

List. The Petitioner respectfully submits that no other or further notice is required.



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                                     NO PRIOR REQUEST

       15.     No previous request for the relief requested herein has been made by the Petitioner

to this Court or any other court.

                                          CONCLUSION

       16.     WHEREFORE, the Petitioner respectfully requests that this Court: (i) enter an

order, substantially in the form of the Proposed Order, granting the relief requested herein; and (ii)

grant such other and further relief as the Court may deem just and proper.




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Dated: October 15, 2024
Houston, Texas

                                         /s/ Charles R. Koster
                                         WHITE & CASE LLP
                                         Charles R. Koster (Texas Bar No. 24128278)
                                         609 Main Street, Suite 2900
                                         Houston, Texas 77002
                                         Telephone: (713) 496-9700
                                         Facsimile: (713) 496-9701
                                         Email: charles.koster@whitecase.com

                                         John K. Cunningham (pro hac vice pending)
                                         Ricardo M. Pasianotto (pro hac vice pending)
                                         David Kim (pro hac vice pending)
                                         1221 Avenue of the Americas
                                         New York, New York 10020
                                         Telephone: (212) 819-8200
                                         Facsimile: (212) 354-8113
                                         Email: jcunningham@whitecase.com
                                                ricardo.pasianotto@whitecase.com
                                                david.kim@whitecase.com

                                         Richard S. Kebrdle (pro hac vice pending)
                                         Southeast Financial Center
                                         200 South Biscayne Boulevard, Suite 4900
                                         Miami, Florida 33131
                                         Telephone: (305) 371-2700
                                         Facsimile: (305) 358-5744
                                         Email: rkebrdle@whitecase.com

                                         Attorneys for Antonio Reinaldo Rabelo Filho,
                                         as Petitioner and Foreign Representative




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                                    Certificate of Accuracy

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).

                                                              /s/ Charles R. Koster
                                                              Charles R. Koster




                                     Certificate of Service

        I certify that on October 15, 2024, I caused a copy of the foregoing document to be served
via electronic mail, U.S. mail, or first-class postage, as applicable, and by the Electronic Case
Filing System for the United States Bankruptcy Court for the Southern District of Texas.

                                                              /s/ Charles R. Koster
                                                              Charles R. Koster
